                    Case: 25-1582
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                                                                    CIRCUIT

                                                   No. 25-1582

                       Atlas Data Privacy Corporation, et al.   vs. RocketReach LLC, et al.

                                               ENTRY OF APPEARANCE

 Please list the names of all parties represented, using additional sheet(s) if necessary:

 RocketReach LLC
Indicate the party’s role IN THIS COURT (check only one):

         ____ Petitioner(s)               ✔ Appellant(s)
                                         ____                               ____ Intervenor(s)

         ____ Respondent(s)              ____ Appellee(s)                   ____ Amicus Curiae

(Type or Print) Counsel’s Name Melissa   A. Chuderewicz, Esq.
                               ________________________________________________________________
                                  ____ Mr.      ✔ Ms.
                                              ____        ____ Mrs. ____ Miss ____ Mx.

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SIGNATURE OF COUNSEL: /s/ Melissa A. Chuderewicz

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Admission Renewal /Adjustment of Status Form in order to proceed with the case. Bar admission is
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REV. 10/20/2020
